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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA

Case No: 21-cv-08458-LB
Case Name: Jackson v. Target Corporation

                            TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                             PLAINTIFF ATTORNEY:                   DEFENSE ATTORNEY:
 Laurel Beeler                      Erika Warren and Francesca            David Roth
                                    Germinario
 TRIAL DATE:                        REPORTER(S):                          CLERK:
 February 26, 2024                  Jennifer Coulthard                    Stephen Ybarra

 PLF    DEF DATE/TIME
 NO.    NO. OFFERED            ID      REC     DESCRIPTION                                           BY
            9:30 AM                            Jury panel present. Courtroom deputy
                                               administers the oath to the jury panel.
                                               Introductions. Voir Dire
                 9:55 AM                       Recess
                 10:02 AM                      Jury panel not present. Court engages the parties
                                               in cause/peremptory challenge process.
                 10:16 AM                      Jury panel present. Court announces the selected
                                               jurors. Selected jurors sworn.
                 10:19 AM                      Court reads preliminary jury instructions.
                 10:35 AM                      Recess
                 11:03 AM                      Jury present. Plaintiff delivers opening statement.
                 11:09 AM                      Defense delivers opening statement.
 2               11:15 AM      X       X       Exhibit Admitted: Stipulated Undisputed Facts
                                               (dkt # 157)
                 11:18 AM                      Bryon Jackson called as witness and sworn.            Pltf
 1               11:19 AM      X       X       Admitted Exhibit (video) played in open court.
 3               12:08 PM      X       X       Exhibit Admitted: Demonstrative related to
                                               damages.
                 12:09 PM                      Defense conducts cross-examination of Mr.
                                               Jackson.
                 12:45 PM                      Plaintiff conducts re-direct as to Mr. Jackson.
                 12:52 PM                      Mr. Jackson excused as witness. Plaintiff rests.
                                               Recess
                 2:08 PM                       Court reconvenes. Jury present.
                                               Plaintiff delivers closing argument.
                 2:20 PM                       Defense delivers closing argument.
                 2:33 PM                       Court reads final jury instructions.
                 3:00 PM                       Jury retires to commence deliberations.

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                          Case Name: Jackson v. Target Corporation
                                   Date: February 26, 2024
         Courtroom Deputy: Stephen Ybarra          - Court Reporter: Jennifer Coulthard

                        EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED         ID     REC      DESCRIPTION                                     BY
          3:33 PM                         Court reconvenes. Jury present.
                                          Court publishes the verdict.
          3:36 PM                         Adjourned.




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